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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Mary Hildebrandt and Jane Whaley,           )
                                            )
       Plaintiffs,                          )
                                            )
       v.                                   )     No.    10 C 8202
                                            )
Omni Credit Services of Florida, Inc., a    )
Florida corporation,                        )
                                            )
       Defendant.                           )     Jury Demanded

                                        COMPLAINT

       Plaintiffs, Mary Hildebrandt and Jane Whaley, bring this action under the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that

Defendant’s debt collection actions violated the FDCPA, and to recover damages for

Defendant’s violations of the FDCPA, and allege:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendant transacts business here.

                                           PARTIES

       3.      Plaintiff, Mary Hildebrandt ("Hildebrandt"), is a citizen of the State of New

York, from whom Defendant attempted to collect a delinquent consumer debt owed to

the Home Shopping Network, despite the fact that she was represented by the legal aid

attorneys at the Chicago Legal Clinic's Legal Advocates for Seniors and People with

Disabilities program ("LASPD"), located in Chicago, Illinois.
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       4.     Plaintiff, Jane Whaley ("Whaley"), is a citizen of the State of Alabama,

from whom Defendant attempted to collect a delinquent consumer debt owed to the

Home Shopping Network, despite the fact that she was represented by the legal aid

attorneys at the Chicago Legal Clinic's LASPD program, located in Chicago, Illinois.

       5.     Defendant, Omni Credit Services of Florida, Inc. (“Omni”), is a Florida

corporation that, from its offices in Wisconsin, Michigan and Florida, acts as a debt

collector, as defined by § 1692a of the FDCPA, because it regularly uses the mails

and/or the telephone to collect, or attempt to collect, delinquent consumer debts.

Defendant Omni operates a nationwide debt collection business and attempts to collect

debts from consumers in virtually every state, including consumers in the State of

Illinois. In fact, Defendant Omni was acting as a debt collector as to the delinquent

consumer debt it attempted to collect from Plaintiffs.

       6.     Defendant Omni is licensed to conduct business in Illinois and maintains a

registered agent here, see, record from the Illinois Secretary of State, attached as

Exhibit A. In fact, Omni conducts business in Illinois.

                               FACTUAL ALLEGATIONS

Ms. Mary Hildebrandt

       7.     Ms. Hildebrandt is a disabled senior citizen, with limited assets and

income, who fell behind on paying her bills, including a debt she owed to the Home

Shopping Network. When Defendant Omni began trying to collect this debt from Ms.

Hildebrandt, she sought the assistance of the legal aid attorneys at the Chicago Legal

Clinic’s LASPD program, regarding her financial difficulties and Defendant Omni’s

collection actions.



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       8.     On November 2, 2010, one of Ms. Hildebrandt's attorneys at LASPD

informed Omni, in writing, that Ms. Hildebrandt was represented by counsel, and

directed Omni to cease contacting her, and to cease all further collection activities

because Ms. Hildebrandt was forced, by her financial circumstances, to refuse to pay

her unsecured debt. Copies of this letter and fax confirmation are attached as Exhibit B.

       9.     Nonetheless, Defendant Omni's debt collectors continued to call Ms.

Hildebrandt directly, including, but not limited to two telephone calls on November 16,

2010, from telephone number 800-670-9944, to demand payment of the Home

Shopping Network debt.

       10.    Accordingly, on November 29, 2010, Ms. Hildebrandt's LASPD attorney

had to send Defendant Omni another letter, to direct it again to cease communications

and to cease collections. Copies of this letter and fax confirmation are attached as

Exhibit C.

Ms. Jane Whaley

       11.    Ms. Whaley is a disabled woman, with limited assets and income, who fell

behind on paying her bills, including a debt she owed to the Home Shopping Network.

When Defendant Omni began trying to collect this debt from Ms. Whaley, she sought

the assistance of the legal aid attorneys at the Chicago Legal Clinic’s LASPD program,

regarding her financial difficulties and Defendant Omni’s collection actions.

       12.    On September 30, 2010, one of Ms. Whaley's attorneys at LASPD

informed Omni, in writing, that Ms. Whaley was represented by counsel, and directed

Omni to cease contacting her, and to cease all further collection activities because Ms.




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Whaley was forced, by her financial circumstances, to refuse to pay her unsecured

debt. Copies of this letter and fax confirmation are attached as Exhibit D.

        13.    Nonetheless, Defendant Omni's debt collectors continued to call Ms.

Whaley directly, including, but not limited to a telephone call on November 9, 2010, from

telephone number 800-670-9944, to demand payment of the Home Shopping Network

debt.

        14.    Accordingly, on November 29, 2010, Ms. Whaley's LASPD attorney had to

send Defendant Omni another letter, to direct it again to cease communications and to

cease collections. Copies of this letter and fax confirmation are attached as Exhibit E.

        15.    Defendant Omni’s collection actions complained of herein occurred within

one year of the date of this Complaint.

        16.    Defendant Omni’s collection communications are to be interpreted under

the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                       COUNT I
                       Violation Of § 1692c(c) Of The FDCPA --
              Failure To Cease Communications And Cease Collections

        17.    Plaintiffs adopt and reallege ¶¶ 1-16.

        18.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

        19.    Here, the letters from Ms. Hildebrandt's and Ms. Whaley's agent, LASPD,

told Defendant Omni to cease communications and cease collections. By continuing to



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communicate regarding these debts and demanding payment, Defendant Omni violated

§ 1692c(c) of the FDCPA.

      20.    Defendant Omni’s violations of § 1692c(c) of the FDCPA render it liable

for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      21.    Plaintiffs adopt and reallege ¶¶ 1-16.

      22.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      23.    Defendant Omni knew that Ms. Hildebrandt and Ms. Whaley were

represented by counsel in connection with their debts because their attorneys at LASPD

had informed Defendant, in writing, that they were represented by counsel, and had

directed Defendant Omni to cease directly communicating with them. By directly calling

Ms. Hildebrandt and Ms. Whaley, despite being advised that they were represented by

counsel, Defendant Omni violated § 1692c(a)(2) of the FDCPA.

      24.    Defendant Omni’s violations of § 1692c(a)(2) of the FDCPA render it liable

for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                PRAYER FOR RELIEF

      Plaintiffs, Mary Hildebrandt and Jane Whaley pray that this Court:

      1.     Find that Defendant Omni’s debt collection actions violated the FDCPA;




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       2.     Enter judgment in favor of Plaintiffs Hildebrandt and Whaley, and against

Defendant Omni, for statutory damages, costs, and reasonable attorneys’ fees as

provided by § 1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiffs, Mary Hildebrandt and Jane Whaley, demand trial by jury.

                                                     Mary Hildebrandt and Jane Whaley,

                                                     By: /s/ David J. Philipps___________
                                                     One of Plaintiffs' Attorneys

Dated: December 27, 2010

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